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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

JAFAR RESUL                                   §
  Plaintiff,                                  §
                                              §
v.                                            §     CIVIL ACTION NO. __________________
                                              §
L. GIANNINI TRUCKING, L.L.C.,                 §
and CURTIS LEEVON EADY,                       §
   Defendants.                                §

                                    NOTICE OF REMOVAL

       Defendants L. GIANNINI TRUCKING, L.L.C. and CURTIS LEEVON EADY

(hereafter “Defendants”) files this Notice of Removal for the purpose of removing this cause to

the United States District Court for the Northern District of Texas, Dallas Division, and states as

follows:

                                  I. STATE COURT ACTION

       This is an action filed on or about December 31, 2018 in the County Court at Law No. 2

of Dallas County, Texas, being numbered CC-18-07192-B. Suit was filed by Plaintiff Jafar

Resul (hereafter “Plaintiff”) to recover damages arising out of a motor vehicle accident occurring

on or about April 23, 2018, in Dallas County, Texas. Plaintiff alleges damages and seeks

monetary relief in excess of $100,000.00 but not more than $200,000.00.

                                II. FEDERAL JURISDICTION

       Plaintiff Jafar Resul is a citizen of the state of Texas for diversity purposes.

       Defendant L. Giannini Trucking, L.L.C. is incorporated under the laws of Florida and has

its principal place of business located at 610 S. Elm Street, Dunn, North Carolina 28334. It is

thus a citizen of Florida and/or North Carolina for diversity purposes.




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       Defendant Curtis Leevon Eady is currently a citizen of the state of Florida and he was a

citizen of the state of Florida on the date of the alleged incident.

       The amount in controversy is in excess of $75,000, exclusive of interest and costs. There

is, therefore, complete diversity of citizenship and a sufficient amount in controversy to confer

jurisdiction on this court pursuant to 28 U.S.C. §1332. The above-described civil action is

therefore one that may be removed pursuant to 28 U.S.C. §§1332, 1441, and 1146 and is hereby

removed.

                       III. STATE COURT DOCUMENTS ATTACHED

       This Notice of Removal has been filed within thirty (30) days after receipt through

service or otherwise, of Plaintiff’s Original Petition, filed in the County Court at Law No. 2 of

Dallas County, Texas.       Plaintiff’s Original Petition was served on Defendant L. Giannini

Trucking, L.L.C. on January 7, 2019. In addition, Defendant Curtis Leevon Eady consented for

Defense Counsel to accept service on his behalf on January 22, 2019 as he had not yet been

served with citation as of this date. Removal is therefore timely under 28 U.S.C. §1446(b).

Pursuant to 28 U.S.C. § 1446(a), Defendants have filed as the Appendix to this Notice of

Removal a complete copy of the State’s Court file, including copies of all process, pleadings,

orders and the Summary Sheet in the State Court action.

       Pursuant to 28 U.S.C. § 1446(d), Defendants will notify the Clerk of the Court in the

State Court action of this removal, and will give notice thereof to all adverse parties.

                                   IV. RELIEF REQUESTED

       Defendants L. Giannini Trucking, L.L.C. and Curtis Leevon Eady respectfully request

that Cause No. CC-18-07192-B in the County Court at Law No. 2 of Dallas County, Texas, be

removed to the United States District Court for the Northern District of Texas, Dallas Division,




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and that this Court accept this Notice of Removal and that it assume jurisdiction of this case and

issue such further orders and processes as may be necessary to bring before it all parties

necessary for the trial hereof.

                                             Respectfully submitted,

                                             MARTIN, DISIERE, JEFFERSON & WISDOM, L.L.P.


                                                By: /s/ Mark J. Dyer
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                                             ATTORNEYS FOR DEFENDANTS
                                             L. GIANNINI TRUCKING, L.L.C. and
                                             CURTIS LEEVON EADY


                                  CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing instrument has been mailed,
e-mailed, telecopied or hand delivered to all attorneys of record, in compliance with the FEDERAL
RULES OF CIVIL PROCEDURE, on this the 30th day of January, 2019.



                                                     /s/ Mark J. Dyer
                                                     Mark J. Dyer




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